Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 1 of 29 Page ID #:227




     1   Stephen McArthur (State Bar No. 277712)
         stephen@smcarthurlaw.com
     2   Thomas Dietrich (State Bar No. 254282)
         tom@smcarthurlaw.com
     3   THE MCARTHUR LAW FIRM, P.C.
         9465 Wilshire Blvd., Ste. 300
     4   Beverly Hills, CA 90212
         Telephone: (323) 639-4455
     5
         Attorneys for Defendant
     6   Covalent, Inc.
     7
                              UNITED STATES DISTRICT COURT
     8
                             CENTRAL DISTRICT OF CALIFORNIA
     9

    10   TRINITY INFO MEDIA, LLC,                  Case No. 2:21-CV-01360-JWH-MRW
    11                   Plaintiff,                DEFENDANT COVALENT, INC.’S
                                                   MEMORANDUM IN SUPPORT OF
    12          v.                                 MOTION TO DISMISS FOR
                                                   FAILURE TO STATE A CLAIM
    13   COVALENT, INC.,
                                                   Judge: Hon. John W. Holcomb
    14                      Defendant.             Hearing Date: June 11, 2021
                                                   Time: 9:00 a.m.
    15                                             Courtroom: 2
    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
                                                             DEFENDANT’S MEMO IN SUPPORT OF
                                                               RULE 12(B)(6) MOTION TO DISMISS
                                                               CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 2 of 29 Page ID #:228




     1                                                    TABLE OF CONTENTS
     2   I.    INTRODUCTION ............................................................................................................. 1
     3   II.   PATENTS AND PROCEDURAL BACKGROUND ..................................................... 2
               A.       The ’321 Patent ....................................................................................................... 2
     4
               B.       The ’685 Patent ....................................................................................................... 5
     5         C.       Procedural Summary of This Action....................................................................... 8
     6   III.  MOTION TO DISMISS STANDARD ............................................................................ 9
               A.       Invalidating Patents Under § 101 Is Proper on Motion to Dismiss......................... 9
     7
               B.       Conclusory Allegations by Patentee Can and Should Be Rejected ...................... 11
     8         C.       Claim Construction is Not a Prerequisite to § 101 Determination........................ 12
     9   IV.   ARGUMENT ................................................................................................................... 13
               A.       Alice’s Two-Step Test ........................................................................................... 13
    10
               B.       Alice Step 1: Claims are Directed to the Idea of Matching People Who
    11                  Gave Corresponding Answers to a Question ........................................................ 14
               C.       Alice Step 2: Claims Reciting Generic Computer Components Do Not
    12                  Contain an Inventive Concept ............................................................................... 19
    13         D.       Other Asserted Claims Need Not Be Analyzed Separately But Are Invalid
                        for the Same Reasons ............................................................................................ 23
    14   Conclusion.................................................................................................................................... 25
    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
                                                                                                        DEFENDANT’S MEMO IN SUPPORT OF
                                                                                                       RULE 12(B)(6) MOTION TO DISMISS FAC
                                                                                 - ii -                   CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 3 of 29 Page ID #:229




     1                                                   TABLE OF AUTHORITIES
         Cases
     2
         Aatrix Software, Inc. v. Green Shades Software, Inc. , 882 F.3d 1121 (Fed. Cir. 2018) .. 10, 18, 20,
     3      21, 22
     4   Adams v. Johnson, 355 F.3d 1179 (9th Cir. 2004)......................................................................... 11
         Alice Corp. v. CLS Bank Int’l, 573 U.S. 208 (2014) .......................................... 2, 13, 14, 19, 23, 25
     5
         Apollo Fin., LLC v. Cisco Sys., Inc., 190 F. Supp. 3d 939 (C.D. Cal. 2016) ............................. 9, 13
     6   Bozeman Fin. LLC v. Fed. Reserve Bank of Atlanta, 955 F.3d 971 (Fed. Cir. 2020).............. 13, 19
     7   BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281(Fed. Cir. 2018) ............................................. 18
         Cardpool, Inc. v. Plastic Jungle, Inc., No. C 12-04182 WHA, 2013 WL 245026 (N.D. Cal. Jan.
     8      22, 2013) .................................................................................................................................... 12
     9   ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759 (Fed. Cir. 2019) .............. 10, 14, 15, 18, 20
         Content Extraction & Transmission LLC v. Wells Fargo Bank, N.A., 776 F.3d 1343 (Fed. Cir.
    10      2014) ...................................................................................................................................... 9, 12
    11   Digitech Image Techs., LLC v. Elecs. for Imaging, Inc., 758 F.3d 1344 (Fed. Cir. 2014) ............ 21
         Elec. Commc’n Techs. v. ShoppersChoice.com, LLC, 958 F.3d 1178 (Fed. Cir. 2020) .......... 10, 13
    12
         Enfish, LLC v. Microsoft Corp., 822 F.3d 1327 (Fed. Cir. 2016) ............................................ 14, 18
    13   FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089 (Fed. Cir. 2016).............................. 18, 19
    14   I/P Engine, Inc. v. AOL Inc., 576 F. App’x 982 (Fed. Cir. 2014). ................................................. 11
         Intellectual Ventures I LLC v. Erie Indem. Co., 850 F.3d 1315 (Fed. Cir. 2017) ......................... 12
    15
         Jedi Techs., Inc. v. Spark Networks, Inc., Civil Action No. 1:16-1055-GMS (D. Del. Aug. 3,
    16      2017) .......................................................................................................................... 1, 17, 18, 21
         OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359 (Fed. Cir. 2015) ............................ 11, 22, 23
    17
         PLC v. Iac/Interactivecorp, Match Grp., Inc., No. 18-366-WCB (D. Del. Feb. 4, 2019) ............. 20
    18   Purepredictive, Inc. v. H2O.AI, Inc., No. 17-cv-03049-WHO, 2017 WL 3721480 (N.D. Cal. Aug.
            29, 2017) ...................................................................................................................................... 2
    19
         RecogniCorp LLC v. Nintendo Co., 855 F.3d 1322 (Fed. Cir. 2017) ...................................... 12, 19
    20   Redbox Automated Retail, LLC v. Buena Vista Home Ent., Inc., 399 F. Supp. 3d 1018 (C.D. Cal.
            2019) .......................................................................................................................................... 12
    21
         Ringcentral, Inc. v. Dialpad, Inc., 372 F. Supp. 3d 988 (N.D. Cal. 2019) .................................... 23
    22   SAP Am., Inc. v. Investpic, LLC, 898 F.3d 1161 (Fed. Cir. 2018). .................................... 10, 21, 22
    23   Secure Mail Solutions LLC v. Universal Wilde, Inc., 169 F. Supp. 3d 1039 (C.D. Cal. 2016) ....... 9
         Simio, LLC v. Flexsim Software Prods., Inc., 2020-1171 (Fed. Cir. Dec. 29, 2020)... 10, 11, 13, 21
    24
         Software Rights Archive, LLC v. Facebook, Inc., No. 12-cv-03970-HSG (N.D. Cal. Sep. 9, 2020)
    25      .............................................................................................................................................. 15, 18
         Synopsys, Inc. v. Avatar Integrated Sys., No. 20-cv-04151-WHO (N.D. Cal. Dec. 22, 2020). 2, 24,
    26      25
    27   Teradata US, Inc. v. SAP SE, No. 20-cv-06127-WHO (N.D. Cal. Feb. 1, 2021) ...................... 9, 13
         Ubisoft Ent., S.A. v. Yousician Oy, 2019-2399 (Fed. Cir. June 11, 2020) ......................... 10, 11, 21
    28
                                                                                                            DEFENDANT’S MEMO IN SUPPORT OF
                                                                                                           RULE 12(B)(6) MOTION TO DISMISS FAC
                                                                                   - iii -                    CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 4 of 29 Page ID #:230




     1   Voter Verified, Inc. v. Election Sys. & Software LLC, 887 F.3d 1376 (Fed. Cir. 2018) 1, 12, 15, 17,
           18, 24, 25
     2   Whitserve LLC v. Donuts Inc., 2019-2240 (Fed. Cir. Apr. 10, 2020) ...................................... 10, 20
     3   Windy City Innovations, LLC v. Facebook, Inc., 411 F. Supp. 3d 886 (N.D. Cal. 2019) .............. 20
         Wolf v. Capstone Photography, Inc., No. 2:13-CV-09573, 2014, WL 7639820 (C.D. Cal. Oct. 28,
     4     2014) .......................................................................................................................................... 13
     5   Yanbin Yu v. Apple Inc., No. 3:18-cv-06181-JD (N.D. Cal. Mar. 24, 2020) ..................... 11, 15, 21
         Zkey Invs., LLC v. Facebook Inc., 225 F. Supp. 3d 1147 (C.D. Cal. 2016)................................... 12
     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
                                                                                                          DEFENDANT’S MEMO IN SUPPORT OF
                                                                                                         RULE 12(B)(6) MOTION TO DISMISS FAC
                                                                                  - iv -                    CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 5 of 29 Page ID #:231




     1   I.    INTRODUCTION
     2         Plaintiff Trinity Info Media, LLC’s (“Trinity”) patents-in-suit both claim a
     3   mental process humans have been performing for eons—matching people who gave
     4   corresponding answers to questions. Trinity has alleged Defendant Covalent, Inc.
     5   (“Covalent”) is infringing the patents-in-suit by offering a dating app, Kippo.
     6   Trinity has not alleged the Kippo app infringes by running any specific improved
     7   computer technology. Rather, Trinity alleges that Kippo is infringing because the
     8   app asks the user if they want to see dating profiles of a particular gender, receives
     9   the user’s answer, and then displays profiles of the gender(s) matching the user’s
    10   selection. That is the entire process alleged to infringe both patents. But Trinity
    11   cannot own this mental process, to which its patents append generic computers.
    12         The claims of Trinity’s patents, U.S. Patent Nos. 9,087,321 (the “’321
    13   Patent”) and 10,936,685 (the “’685 Patent) (together the “Patents”), are invalid
    14   under 35 U.S.C. § 101 because they are directed to the abstract idea of matching
    15   respondents who gave corresponding answers to a question. Another court has
    16   invalidated similar matchmaking patents on motions to dismiss. See Jedi Techs.,
    17   Inc. v. Spark Networks, Inc., Civil Action No. 1:16-1055-GMS, at *13 (D. Del.
    18   Aug. 3, 2017) (finding computerized matchmaking patent invalid under § 101 and
    19   granting motion to dismiss where “[t]he patent’s foundation rests upon the notion of
    20   human compatibility and matchmaking, where an individual learns about the
    21   personalities and interests of two different individuals and, based upon a certain
    22   criteria, determines whether the individuals are compatible.”). And many recent
    23   Federal Circuit opinions have affirmed grants of motions to dismiss on § 101
    24   grounds without requiring claim construction or discovery. A mental process is
    25   ineligible for patenting, rendering the claims invalid under § 101 as a matter of law.
    26   See Voter Verified, Inc. v. Election Sys. & Software LLC, 887 F.3d 1376, 1385-86
    27   (Fed. Cir. 2018) (affirming dismissal of complaint asserting infringement of claims
    28   directed to “human cognitive actions”); Purepredictive, Inc. v. H2O.AI, Inc., No.
                                                                  DEFENDANT’S MEMO IN SUPPORT OF
                                                                 RULE 12(B)(6) MOTION TO DISMISS FAC
                                                    -1-             CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 6 of 29 Page ID #:232




     1   17-cv-03049-WHO, 2017 WL 3721480, at *5 (N.D. Cal. Aug. 29, 2017)
     2   (dismissing complaint asserting infringement of claims “directed to a mental
     3   process and the abstract concept of using mathematical algorithms to perform
     4   predictive analytics”), aff’d, 741 F. App’x 802 (Fed. Cir. 2018). Indeed, “[t]he
     5   Federal Circuit has repeatedly held that similar claims involving organizing,
     6   collecting, analyzing, and processing data are directed to abstract concepts.”
     7   Synopsys, Inc. v. Avatar Integrated Sys., No. 20-cv-04151-WHO, at *4 (N.D. Cal.
     8   Dec. 22, 2020) (listing cases).
     9          The claims of the Patents implement the abstract idea of matching users by
    10   their answers to a question through the use of known, generic computer hardware
    11   and software. As the Supreme Court explained in Alice Corp. v. CLS Bank Int’l,
    12   573 U.S. 208 (2014), “merely requiring generic computer implementation fails to
    13   transform [an] abstract idea into a patent-eligible invention.” The Patents are
    14   precisely the type of patent that is invalid under Alice. Given the straightforward
    15   nature of the Patents’ claims and the clear applicability of Alice, resolving this
    16   threshold issue through a motion to dismiss—before unnecessary time and expense
    17   is spent on further proceedings—is appropriate, as numerous courts have
    18   recognized. Trinity’s First Amended Complaint should therefore be dismissed with
    19   prejudice, as the defects cannot be remedied by amendment.
    20 II.     PATENTS AND PROCEDURAL BACKGROUND
    21         A.     The ’321 Patent
    22         Patent specification. The ’321 Patent, entitled “Poll-Based Networking
    23   System,” was filed on November 22, 2010, and issued on July 21, 2015. [Doc. 28,
    24   Exhibit (“Ex.”) 1] The Abstract describes the ’321 Patent as concerning “a poll-
    25   based networking system” which “provides an on-line network of friends that are
    26   determined through polling each of the users.” [Id. at Abstract] The ’321 Patent
    27   specification states that it was known in the prior art for websites to “maintain a
    28   database with user profiles” and “[w]hen a new user registers on an existing site,
                                                                  DEFENDANT’S MEMO IN SUPPORT OF
                                                                 RULE 12(B)(6) MOTION TO DISMISS FAC
                                                    -2-             CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 7 of 29 Page ID #:233




     1   the site may attempt to match the user profile with existing user profiles as stored
     2   on a database.” [Id. at 1:38-40] It was also known in the prior art that such
     3   matching could be accomplished by asking questions to the new user and matching
     4   the user with other users based on the answer. [Id. at 1:30-34 (“Alternatively, such
     5   sites may ask what high school a user went to and provides suggested friends who
     6   also attended the same high school. In providing such a question, the site is
     7   querying or polling the user to match the user with other similar users.”) The ’321
     8   Patent contrasts its claimed invention with the prior art as follows: “While the sites
     9   may query the user to classify the user with a similar group of people, such sites do
    10   not provide a progressive poll query that, in real-time, matches the user with other
    11   users based upon all of the polls taken.” [Id. at 1:35-38] The ’321 Patent’s
    12   purported invention was “directed to a poll-based networking system that connects
    13   users based on similarities as determined through poll answering and provides real-
    14   time results to the users.” [Id. at 1:53-55 (Summary of Invention)]
    15         The patent broadly defines a “polling question” as “a question that has
    16   multiple answers.” [Id. at 4:64-5:2] The patent claims describe a series of basic
    17   steps for matching users by answers they give over a networking system. [Id. at
    18   1:11-14] As recited in Claim 1, these steps include: (i) receiving information from a
    19   user to create a user profile; (ii) providing the user with a polling question; (iii)
    20   receiving the user’s answer; (iv) comparing the user’s answer to answers given by
    21   other users and generating the likelihood of a match; and (v) displaying to the user
    22   the profiles of other users which have a likelihood of a match. [Id. at 12:15-34]
    23         The patent’s specification is clear that its claimed system can run on generic,
    24   general-purpose computer hardware and software, which the patent acknowledges
    25   were known in the prior art. For example, the patent explains the alleged invention
    26   can be performed using any type of computer: “The computer system 840 may be a
    27   conventional computer system that can be used as a member computer system or a
    28   server computer system or as a web server computer system.” [Id. at 9:56-59] The
                                                                    DEFENDANT’S MEMO IN SUPPORT OF
                                                                   RULE 12(B)(6) MOTION TO DISMISS FAC
                                                     -3-              CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 8 of 29 Page ID #:234




     1   patent states about the claimed system:
     2          The algorithms and displays presented herein are not inherently related
                to any particular computer or other apparatus. Various general purpose
     3          systems may be used with programs in accordance with the teachings
                herein, or it may prove convenient to construct more specialized
     4          apparatus to perform the methods of some embodiments. . . . In
                addition, the present invention is not described with reference to any
     5          particular programming language, and various embodiments may thus
                be implemented using a variety of programming languages.
     6

     7   [Id. at 11:49-59] In other words, the claimed system of matching users by asking a
     8   polling question was intended to be operated on generic computer components,
     9   using no specific structure or programming language. [Id. at 11:21-59]
    10          Patent claims. The ’321 Patent has three substantively similar independent
    11   claims—claim 1, reciting a system; claim 10, reciting a computer-implemented
    12   method; and claim 19, reciting a computer program product. Each is directed to the
    13   idea of matching users who gave corresponding answers to a question. Claim 1
    14   recites:
    15          1. A poll-based networking system comprising:
    16              a data processing system having one or more processors and a
                    memory, the memory being specifically encoded with instructions
    17              such that when executed, the instructions cause the one or more
                    processors to perform the operations of:
    18
                       receiving user information from a user to generate a unique user
    19                 profile for the user;
    20                 providing the user a first polling question, the first polling
                       question having a finite set of answers and a unique
    21                 identification;
    22                 receiving and storing a selected answer for the first polling
                       question;
    23
                       comparing the selected answer against the selected answers of
    24                 other users, based on the unique identification, to generate a
                       likelihood of match between the user and each of the other
    25                 users; and
    26                 displaying to the user the user profiles of other users that have a
                       likelihood of match within a predetermined threshold.
    27

    28   [Id. at 12:15-34]
                                                                    DEFENDANT’S MEMO IN SUPPORT OF
                                                                   RULE 12(B)(6) MOTION TO DISMISS FAC
                                                     -4-              CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 9 of 29 Page ID #:235




     1         The dependent claims (2-9, 11-18, and 20-27) recite additional ways to
     2   match users by their answers to questions: asking multiple questions and finding a
     3   match based on like answers to those questions (claim 2); determining a match by
     4   the percentage of like answers given for a particular number of questions (claim 4);
     5   and displaying profiles of users who fall within a range of like answers given (claim
     6   5). Other dependent claims recite the same processes carried out on multiple
     7   generic servers (claims 6, 7, and 8, for example). No claim requires any specific,
     8   non-generic hardware or software to perform these steps or any other part of the
     9   claimed questioning and matching process. Further, none of the claims of the ’321
    10   Patent require real-time comparison of data or require that match results be
    11   displayed in real-time or at any particular speed at all. [See id. at 12:15-18:33 (no
    12   mention of real-time in any claims)]
    13         The ’321 Patent contains just one reference in the specification that the
    14   claimed system can be performed on a hand-held device, among many other generic
    15   computing devices. [Id. at 8:33-43] Neither the patent specification nor the claims
    16   describe swiping the screen on a mobile device to carry out any function on the
    17   device.
    18         B.     The ’685 Patent
    19         Patent specification. The ’685 Patent is a continuation-in-part from the
    20   application that led to the ’321 Patent. [Doc. 28, Ex. 2 at 1:6-15] The application
    21   which led to the ’685 Patent was filed July 2, 2018. [Id. at p.1] The basic invention
    22   is described as “a poll-based networking and ecommerce system that connects users
    23   to other users, or products, goods and/or services based on similarities as
    24   determined through poll answering and provides real-time results to the users.” [Id.
    25   at 2:3-7 (Summary of Invention)] The ’685 Patent specification acknowledges that
    26   it was known in the prior art for websites to ask a user questions and use the
    27   answers to match the user with other users. [Id. at 1:41-45 (describing prior art
    28   websites and apps and stating, “[i]n providing such options, the site is querying or
                                                                  DEFENDANT’S MEMO IN SUPPORT OF
                                                                 RULE 12(B)(6) MOTION TO DISMISS FAC
                                                    -5-             CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 10 of 29 Page ID
                                 #:236



  1   polling the user to match the user with similar user profiles, products, goods or
  2   services.”). The claimed invention allegedly differs from the prior art as follows:
  3         As an improvement over the prior art, the present invention polls a
            user with a variety of questions. After providing an answer to each
  4         question, the system compares, in real-time, the current user’s
            response with all other users or to the descriptions of product, goods
  5         and/or services, based on the unique identification, to identify those
            products, goods and/or services that most similarly match the answers
  6         to that of the current user. As the current user progressively answers
            additional questions, the system progressively updates the matching
  7         and presentation of similar products, goods and/or services.
  8   [Id. at 6:3-13] In other words, the claimed invention is the process of matching
  9   users based on asking multiple questions and weeding out respondents who did not
 10   give corresponding answers to the series of questions.
 11         The specification of the ’685 Patent, like the ’321 Patent, makes clear that the
 12   claimed poll-based network invention can be run on generic, general-purpose
 13   computing hardware and software without any specific processing or programming
 14   requirements. [See, e.g., id. at 5:41-63, 13:32-55] The system categorizes answers
 15   and determines matches using previously known techniques. [Id. at 7:41-46, 8:4-7]
 16   The system can operate on single or multiple servers. [Id. at 9:37-38] The input is
 17   provided by a general-purpose computer processor. [Id. at 9:67-10:4] Any
 18   description of the system in the specification is expressly non-limiting, and “[o]ther
 19   embodiments can be practiced with other computer system configurations,
 20   including hand-held devices, multiprocessor systems, microprocessor-based or
 21   programmable consumer electronics, network PCs, minicomputers, mainframe
 22   computers, and the like.” [Id. at 10:16-33] The specification states in describing the
 23   Internet-connected version of the claimed invention that it can be operated on “a
 24   conventional computer system that can be used as a member computer system or a
 25   server computer system or as a web server computer system.” [Id. at 11:20-52]
 26   And, to make clear no limitations on the type of hardware or software used could be
 27   implied, the ’685 Patent states any system described in the specification “is one
 28   example of many possible computer systems which have different architectures.”
                                                                DEFENDANT’S MEMO IN SUPPORT OF
                                                               RULE 12(B)(6) MOTION TO DISMISS FAC
                                                -6-               CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 11 of 29 Page ID
                                 #:237



  1   [Id. at 12:33-34]
  2          While the ’685 Patent describes certain examples of how a matching system
  3   can be programmed, it goes on to state:
  4          The algorithms and displays presented herein are not inherently related
             to any particular computer or other apparatus. Various general purpose
  5          systems may be used with programs in accordance with the teachings
             herein, or it may prove convenient to construct more specialized
  6          apparatus to perform the methods of some embodiments. . . . In
             addition, the present invention is not described with reference to any
  7          particular programming language, and various embodiments may thus
             be implemented using a variety of programming languages.
  8

  9   [Id. at 13:44-55]
 10          Patent claims. The ’685 Patent has three substantively similar independent
 11   claims—claim 1, reciting a system; claim 2, reciting a computer-implemented
 12   method; and claim 3, reciting a computer program product. Each is directed to the
 13   key idea of matching users who gave corresponding answers to a question. Claim 2
 14   recites:
 15          2. A computer-implemented method for creating a poll-based network,
             the method comprising an act of causing one or more processors
 16          having an associated memory specifically encoded with computer
             executable instruction means to execute the instruction means to cause
 17          the one or more processors to collectively perform operations of:
 18              receiving user information from a user to generate a unique user
                 profile for the user;
 19
                 providing the user one or more polling questions, the one or more
 20              polling questions having a finite set of answers and a unique
                 identification;
 21
                 receiving and storing a selected answer for the one or more polling
 22              questions;
 23              comparing the selected answer against the selected answers of other
                 users, based on the unique identification, to generate a likelihood of
 24              match between the user and each of the other users;
 25              causing to be displayed to the user other users, that have a
                 likelihood of match within a predetermined threshold;
 26
                 wherein one or more of the operations are carried out on a hand-
 27              held device; and wherein two or more results based on the
                 likelihood of match are displayed in a list reviewable by swiping
 28              from one result to another.
                                                                DEFENDANT’S MEMO IN SUPPORT OF
                                                               RULE 12(B)(6) MOTION TO DISMISS FAC
                                                  -7-             CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 12 of 29 Page ID
                                 #:238



  1   [Id. at 14:37-59]
  2         Most of the dependent claims (4-27) recite additional ways to match users by
  3   their answers to questions: matching by gender (claims 4-6, 12-14, and 20-22);
  4   asking more than 10 polling questions to a user (claims 7, 15, and 23); asking fewer
  5   than 10 polling questions to a user (claims 8, 16, and 24); and displaying one or
  6   more of the polling question answers to another user (claims 9, 10, 17, 18, 25, and
  7   26). Dependent claims 11, 19, and 27 recite the claimed system, method, and
  8   process operated on one or more generic remote processors linked through a
  9   communications network. No claim requires any specific, non-generic hardware or
 10   software to perform these steps or any other part of the claimed questioning and
 11   matching process. Neither do any of the claims in the ’685 Patent require that the
 12   matching comparison be performed at any particular speed, whether in “real-time”
 13   or otherwise.
 14         While the independent claims of the ’685 Patent contain a limitation
 15   regarding swiping the screen on a device to review match results, there are no
 16   references in the specification to swiping or any description of how that function
 17   should be programmed or implemented. Nor does the Patent purport to have
 18   invented that process or claim that swiping a screen would have been novel as of
 19   July 2, 2018, when the patent application was filed.
 20         C.     Procedural Summary of This Action
 21         Trinity sued Covalent for infringement of the ’321 Patent on February 15,
 22   2021. [Doc. 1] Covalent moved to dismiss on grounds the ’321 Patent is invalid
 23   under Alice and § 101. [Doc. 24] Trinity mooted that motion by filing the First
 24   Amended Complaint (“FAC”) on April 28, 2021, alleging infringement of the ’321
 25   Patent and the ’685 Patent. [Doc. 28] Specifically, Trinity alleges Covalent is
 26   infringing Claims 1-3, 8, and 10 of the ’321 Patent and Claims 2, 3, 12-14, 16, 17,
 27   20-22, 24, and 25 of the ’685 Patent (collectively, the “Asserted Claims”). [Id. ¶¶
 28   41, 54, 55, 69]
                                                              DEFENDANT’S MEMO IN SUPPORT OF
                                                             RULE 12(B)(6) MOTION TO DISMISS FAC
                                                -8-             CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 13 of 29 Page ID
                                 #:239



  1          According to the FAC, Covalent’s Kippo app infringes Claim 1 of the ’321
  2    Patent by allegedly performing the following steps: (1) asking the user their gender;
  3    (2) asking the user if they would like to see dating profiles of a particular gender;
  4    and (3) based on the user’s answer, displaying to the user the dating profiles of
  5    other users matching the selected gender(s). [Id. ¶¶ 46-53] Trinity alleges that the
  6    same process infringes Claim 2 of the ’685 Patent, with the addition that part of the
  7    process allegedly is carried out on a mobile device and that matches are allegedly
  8    reviewable by swiping. [Id. ¶¶ 59-67]
  9   III.   MOTION TO DISMISS STANDARD
 10          A.     Invalidating Patents Under § 101 Is Proper on Motion to Dismiss
 11          “Patent-eligibility is a question of law.” Apollo Fin., LLC v. Cisco Sys., Inc.,
 12    190 F. Supp. 3d 939, 942 (C.D. Cal. 2016). “Courts may address whether a patent is
 13    eligible under the Patent Act, pursuant to § 101, through a motion to dismiss.” Id.
 14    (citing Content Extraction & Transmission LLC v. Wells Fargo Bank, N.A., 776
 15    F.3d 1343 (Fed. Cir. 2014) (affirming district court’s grant of a motion to dismiss
 16    based on a § 101 analysis)); Secure Mail Solutions LLC v. Universal Wilde, Inc.,
 17    169 F. Supp. 3d 1039, 1058 (C.D. Cal. 2016) (granting motion to dismiss patent
 18    suit for invalidity under § 101). Indeed, “[t]he Federal Circuit has ‘repeatedly
 19    recognized that in many cases it is possible and proper to determine patent
 20    eligibility under 35 U.S.C. § 101 on a Rule 12(b)(6) motion.’” Teradata US, Inc. v.
 21    SAP SE, No. 20-cv-06127-WHO, at *4 (N.D. Cal. Feb. 1, 2021) (quoting Genetic
 22    Techs. Ltd. v. Merial LLC, 818 F.3d 1369, 1373 (Fed. Cir. 2016)).
 23          Trinity will try to convince this Court that the Federal Circuit no longer
 24    approves of finding patents invalid under § 101 on motions to dismiss. That is far
 25    from true. “ Like other legal questions based on underlying facts, this question may
 26    be, and frequently has been, resolved on a Rule 12(b)(6) or (c) motion where the
 27    undisputed facts, considered under the standards required by that Rule, require a
 28    holding of ineligibility under the substantive standards of law. ” SAP Am., Inc. v.
                                                                DEFENDANT’S MEMO IN SUPPORT OF
                                                               RULE 12(B)(6) MOTION TO DISMISS FAC
                                                  -9-             CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 14 of 29 Page ID
                                 #:240



  1   Investpic, LLC, 898 F.3d 1161, 1166 (Fed. Cir. 2018). “[P]atent eligibility can be
  2   determined at the Rule 12(b)(6) stage . . . when there are no factual allegations that,
  3   taken as true, prevent resolving the eligibility question as a matter of law.” Aatrix
  4   Software, Inc. v. Green Shades Software, Inc. , 882 F.3d 1121, 1125 (Fed. Cir.
  5   2018). Aatrix does not bar finding invalidity at the motion to dismiss stage, a fact
  6   clearly demonstrated by the numerous Federal Circuit opinions post-Aatrix that
  7   have affirmed district court decisions granting motions to dismiss and for judgment
  8   on the pleadings (reviewed under the same standard) for invalidity under § 101.
  9   See, e.g., Elec. Commc’n Techs. v. ShoppersChoice.com, LLC, 958 F.3d 1178, 1184
 10   (Fed. Cir. 2020); Simio, LLC v. Flexsim Software Prods., Inc., 2020-1171, at *23
 11   (Fed. Cir. Dec. 29, 2020); Ubisoft Ent., S.A. v. Yousician Oy, 2019-2399 (Fed. Cir.
 12   June 11, 2020); Whitserve LLC v. Donuts Inc., 2019-2240, at *11 (Fed. Cir. Apr.
 13   10, 2020); ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759, 775 (Fed. Cir.
 14   2019); SAP Am, 898 F.3d at 1170.
 15         As recently as April 2020, the Federal Circuit rejected a patentee’s argument
 16   that the § 101 invalidity finding should not have been made at the motion to dismiss
 17   stage and noted (again) “we have repeatedly made clear that patent eligibility can
 18   be determined at the Rule 12(b)(6) stage if there are no plausible factual allegations
 19   to impede such a resolution.” Whitserve, 2019-2240, at *10. “Factual questions
 20   relevant to the § 101 analysis, like other legal questions based on underlying facts,
 21   do not prevent a judgment on the pleadings when the pleadings and exhibits
 22   attached thereto show that there are no plausible factual disputes.” Id. (internal
 23   punctuation omitted). “In the § 101 context, the specification alone may suffice to
 24   resolve the patent-eligibility inquiry.” Id.
 25         Indeed, “there are clear advantages to addressing Section 101’s requirements
 26   at the outset of litigation.” I/P Engine, Inc. v. AOL Inc., 576 F. App’x 982, 996
 27   (Fed. Cir. 2014). “Patent eligibility issues can often be resolved without lengthy
 28   claim construction, and an early determination that the subject matter of asserted
                                                               DEFENDANT’S MEMO IN SUPPORT OF
                                                              RULE 12(B)(6) MOTION TO DISMISS FAC
                                                 - 10 -          CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 15 of 29 Page ID
                                 #:241



  1   claims is patent ineligible can spare both litigants and courts years of needless
  2   litigation.” Id. In particular, “[a]ddressing 35 U.S.C. § 101 at the outset not only
  3   conserves scarce judicial resources and spares litigants the staggering costs
  4   associated with discovery and protracted claim construction litigation, it also works
  5   to stem the tide of vexatious suits brought by the owners of vague and overbroad
  6   business patents.” OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1364 (Fed.
  7   Cir. 2015) (J. Mayer, concurring).
  8         B.     Conclusory Allegations by Patentee Can and Should Be Rejected
  9         While courts must accept well-pled allegations as true, they need not take
 10   every allegation in a complaint at face value. “On a motion to dismiss, ‘the tenet
 11   that a court must accept as true all of the allegations contained in a complaint is
 12   inapplicable to legal conclusions.’” Yanbin Yu v. Apple Inc., No. 3:18-cv-06181-JD,
 13   at *4 (N.D. Cal. Mar. 24, 2020) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678
 14   (2009)). The same rule applies to conclusory factual allegations. The Federal
 15   Circuit recently noted, in affirming a grant of a motion to dismiss on § 101
 16   invalidity grounds and denial of leave to amend, that it is proper to “disregard
 17   conclusory statements when evaluating a complaint under Rule 12(b)(6).” Simio,
 18   2020-1171, at *19; see also Adams v. Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004)
 19   (holding that “conclusory allegations of law and unwarranted inferences are
 20   insufficient to defeat a motion to dismiss”). In Simio, the Federal Circuit rejected
 21   conclusory allegations from the patentee regarding the purported novelty of the
 22   claimed invention, holding that “[a] statement that a feature ‘improves the
 23   functioning and operations of the computer’ is, by itself, conclusory.” Id. Such
 24   conclusory allegations do not “prevent resolving the eligibility question as a matter
 25   of law.’” Id. at *20 (quoting Aatrix, 882 F.3d at 1125); see also Ubisoft Ent., S.A. v.
 26   Yousician Oy, 2019-2399, at *7 (Fed. Cir. June 11, 2020) (rejecting unsupported
 27   factual allegations by the patentee and affirming grant of motion to dismiss under §
 28   101 while noting “[t]he district court was not required to accept [the patentee’s]
                                                                DEFENDANT’S MEMO IN SUPPORT OF
                                                               RULE 12(B)(6) MOTION TO DISMISS FAC
                                                 - 11 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 16 of 29 Page ID
                                 #:242



  1   unreasoned conclusions and arguments in the absence of specific plausible
  2   allegations of supporting facts.”).
  3         Moreover, a court does not check its common sense or experience at the door
  4   when deciding a motion to dismiss. “Determining whether a complaint states a
  5   plausible claim for relief is a context-specific task that requires the reviewing court
  6   to draw on its judicial experience and common sense.” Redbox Automated Retail,
  7   LLC v. Buena Vista Home Ent., Inc., 399 F. Supp. 3d 1018, 1026 (C.D. Cal. 2019).
  8   In the patent context, that means courts can properly consider whether a patent
  9   claim covers a basic, widely-known process. See, e.g., RecogniCorp LLC v.
 10   Nintendo Co., 855 F.3d 1322, 1326 (Fed. Cir. 2017) (“Morse code, ordering food at
 11   a fast food restaurant via a numbering system, and Paul Revere’s ‘one if by land,
 12   two if by sea’ signaling system all exemplify encoding at one end and decoding at
 13   the other end.”); Voter Verified, 887 F.3d at 1385-86 (noting about patent claims
 14   drawn to voting concepts that “[h]umans have performed this fundamental activity
 15   that forms the basis of our democracy for hundreds of years.”); Intellectual
 16   Ventures I LLC v. Erie Indem. Co., 850 F.3d 1315, 1330 (Fed. Cir. 2017)
 17   (“Remotely accessing and retrieving user-specified information is an age-old
 18   practice that existed well before the advent of computers and the Internet.”).
 19         C.     Claim Construction is Not a Prerequisite to § 101 Determination
 20         “Claim construction is not necessary” for a § 101 analysis when the “basic
 21   character of the claimed subject matter is readily ascertainable from the face of the
 22   patent.” Cardpool, Inc. v. Plastic Jungle, Inc., No. C 12-04182 WHA, 2013 WL
 23   245026, at *4 (N.D. Cal. Jan. 22, 2013); see also Content Extraction, 776 F.3d at
 24   1349; Zkey Invs., LLC v. Facebook Inc., 225 F. Supp. 3d 1147, 1152 (C.D. Cal.
 25   2016) (no claim construction needed to invalidate under § 101 a patent claiming the
 26   process of “allowing individuals to manage and selectively share with others items
 27   of information about themselves” via a computer network); Wolf v. Capstone
 28   Photography, Inc., No. 2:13-CV-09573, 2014, WL 7639820, at *6 (C.D. Cal. Oct.
                                                               DEFENDANT’S MEMO IN SUPPORT OF
                                                              RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 12 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 17 of 29 Page ID
                                 #:243



  1   28, 2014) (holding terms “associating identifying data” and “cataloging each of the
  2   photographs in a web-site server” did not require claim construction before
  3   resolving § 101 issue). As the Federal Circuit has very recently held, in such
  4   situations there is no error in a district court determining ineligibility without first
  5   conducting claim construction. Simio, LLC, 2020-1171, at *19-20; Elec. Commc’n.,
  6   958 F.3d at 1184.
  7   IV.   ARGUMENT
  8         Trinity’s Asserted Claims are directed to an abstract idea under Alice and its
  9   progeny, with no saving inventive concept in application of the abstract idea. The
 10   Patents are therefore invalid and the FAC should be dismissed with prejudice.
 11   Claim construction is not necessary for the Court to address this validity issue.
 12         A.     Alice’s Two-Step Test
 13         “Laws of nature, natural phenomena, and abstract ideas are not patentable.”
 14   Apollo, 190 F. Supp. 3d at 942 (quoting Mayo Collab. Serv. v. Prometheus Labs.,
 15   Inc., 566 U.S. 66 (2012)). These are “the basic tools of scientific and technological
 16   work,” and “monopolization of those tools through the grant of a patent might tend
 17   to impede innovation more than it would tend to promote it.” Id. “[P]atents that
 18   seek to wholly preempt others from using a law of nature or an abstract idea—‘the
 19   basic tools of scientific and technological work’—are invalid.” Teradata, No. 20-
 20   cv-06127-WHO, at *4.
 21         The Alice Court laid out a two-step process for assessing patent eligibility:
 22         1.     “At step one, [courts] determine whether the claims are directed to an
 23                abstract idea.” Bozeman Fin. LLC v. Fed. Reserve Bank of Atlanta, 955
 24                F.3d 971, 978 (Fed. Cir. 2020).
 25         2.     “At Alice step two, [courts] consider the elements of each claim
 26                individually and as an ordered combination to determine whether the
 27                additional elements transform the nature of the claim into a patent-
 28                eligible application.” Id. at 980 (internal quotation marks omitted).
                                                                 DEFENDANT’S MEMO IN SUPPORT OF
                                                                RULE 12(B)(6) MOTION TO DISMISS FAC
                                                  - 13 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 18 of 29 Page ID
                                 #:244



  1         The Federal Circuit has “described the first-stage inquiry as looking at the
  2   ‘focus’ of the claims, their ‘character as a whole,’ and the second-stage inquiry
  3   (where reached) as looking more precisely at what the claim elements add—
  4   specifically, whether, in the Supreme Court’s terms, they identify an ‘inventive
  5   concept’ in the application of the ineligible matter to which (by assumption at stage
  6   two) the claim is directed.” Elec. Power Group, LLC v. Alstom S.A., 830 F.3d 1350,
  7   1353 (Fed. Cir. 2016).
  8         B.     Alice Step 1: Claims are Directed to the Idea of Matching People
                   Who Gave Corresponding Answers to a Question
  9

 10         Alice’s first step is to determine whether a patent claim is “directed to”
 11   patent-ineligible subject matter such as an abstract idea. Alice, 573 U.S. at 217. The
 12   key question here is “whether the focus of the claims is on the specific asserted
 13   improvement in computer capabilities . . . or, instead, on a process that qualifies as
 14   an ‘abstract idea’ for which computers are invoked merely as a tool.” Enfish, LLC v.
 15   Microsoft Corp., 822 F.3d 1327, 1335-36 (Fed. Cir. 2016) (emphasis added). In
 16   conducting this analysis, “while the specification may help illuminate the true focus
 17   of a claim, when analyzing patent eligibility, reliance on the specification must
 18   always yield to the claim language in identifying that focus.” ChargePoint, Inc. v.
 19   SemaConnect, Inc., 920 F.3d 759, 766 (Fed. Cir. 2019). “This is because the
 20   concern that drives the judicial exceptions to patentability is one of preemption, and
 21   the claim language defines the breadth of each claim[.]” Id. (citing Alice, 573 U.S.
 22   at 216). “Ultimately, the § 101 inquiry must focus on the language of the Asserted
 23   Claims themselves, and the specification cannot be used to import details from the
 24   specification if those details are not claimed.” ChargePoint, 920 F.3d at 769
 25   (quoting Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d 1138, 1149 (Fed. Cir.
 26   2016) (holding that “complex details from the specification cannot save a claim
 27   directed to an abstract idea that recites generic computer parts.”)). “Even a
 28   specification full of technical details about a physical invention may nonetheless
                                                               DEFENDANT’S MEMO IN SUPPORT OF
                                                              RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 14 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 19 of 29 Page ID
                                 #:245



  1   conclude with claims that claim nothing more than the broad law or abstract idea
  2   underlying the claims, thus preempting all use of that law or idea.” ChargePoint,
  3   920 F.3d at 769; see also Yanbin Yu, 3:18-cv-06181-JD, at *8 (“it is clear, from the
  4   claims themselves and the specification, that the limitations require no improved
  5   computer resources [the patentee] claims to have invented, just already available
  6   computers, with their already available basic functions, to use as tools in executing
  7   the claimed process.”); Software Rights Archive, LLC v. Facebook, Inc., No. 12-cv-
  8   03970-HSG, at *8 (N.D. Cal. Sep. 9, 2020) (granting motion to dismiss on § 101
  9   grounds where the “claims of the ’852 patent do not recite a particular way of
 10   programing or designing software” and “instead provide general detail about
 11   collecting and analyzing the information on conventional computers.”).
 12         Steps that consist of “human cognitive actions” are “nothing more than
 13   abstract ideas.” Voter Verified, 887 F.3d at 1385-86 (citing CyberSource Corp. v.
 14   Retail Decisions, Inc., 654 F.3d 1366, 1373 (Fed. Cir. 2011) (“holding “methods
 15   which can be performed entirely in the human mind are the types of methods that
 16   embody the ‘basic tools of scientific and technological work’ that are free to all
 17   men and reserved exclusively to none.”)). Because analyzing and processing
 18   information is what the human mind does, those steps too are patent-ineligible
 19   abstract ideas:
 20         . . . [W]e have treated collecting information, including when limited
            to particular content (which does not change its character as
 21         information), as within the realm of abstract ideas. In a similar vein,
            we have treated analyzing information by steps people go through in
 22         their minds, or by mathematical algorithms, without more, as
            essentially mental processes within the abstract-idea category. And we
 23         have recognized that merely presenting the results of abstract
            processes of collecting and analyzing information, without more (such
 24         as identifying a particular tool for presentation), is abstract as an
            ancillary part of such collection and analysis.
 25

 26   Elec. Power, 830 F.3d at 1353-54 (citations omitted).
 27         Here, all of the Asserted Claims in both Trinity Patents focus on the idea of
 28   matching users who gave corresponding answers to a question. For example, Claim
                                                               DEFENDANT’S MEMO IN SUPPORT OF
                                                              RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 15 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 20 of 29 Page ID
                                 #:246



  1   1 of the ’321 Patent begins with receiving user information, such as a name. [Doc.
  2   28, Ex. 1 at 12:21-22] The user is then asked a question with a finite number of
  3   answers, such as a “yes or no” question. [Id. at 12:23-25, 4:64-5:2 (defining
  4   “polling question”)] The user’s answer is received and compared in some
  5   nonspecific, unidentified way to the answers of other users to see if there might be a
  6   match. [Id. at 12:26-31] Matching profiles are then displayed to the user. [Id. at
  7   12:32-34] The following is an example of steps that would infringe Claim 1:
  8             1. A system asks a user to type in his name.
  9             2. The system asks the user the question: “Would you rather be friends
 10                with someone who likes the Dodgers or the Yankees?”
 11             3. When the user selects “Dodgers” as the answer, the system compares
 12                that answer to profiles of other users.
 13             4. The system displays to the user the profiles of other users who chose
 14                “Dodgers” as an answer.
 15         That is the complete claimed system.1 Claim 2 of the ’685 Patent recites a
 16   computer-implemented method covering the same steps of the same abstract
 17   process. [Doc. 28, Ex. 2 at 14:37-59] Neither claim requires any specific hardware
 18   or software to perform the claimed steps and neither recites any improvements to
 19   the operating technology. Neither claim requires “real-time” processing speed. And
 20   neither claim (and none of the Asserted Claims) even requires asking more than one
 21   question to the user or matching based on more than one answer. “Progressive
 22   polling,” the entire purported invention, is not described in either claim.
 23         What these claims recite is a mental process: matching people who gave
 24   corresponding answers to a question. That is a “human cognitive action” that has
 25   performed for thousands of years. See Voter Verified, 887 F.3d at 1385-86. Even
      1
 26     Trinity may argue this Court cannot do this sort of common-sense analysis of the
      patent claims. But the Court does not check its judicial experience and common
 27   sense at the door on a motion to dismiss. See Redbox, 399 F. Supp. 3d at 1026;
      RecogniCorp, 855 F.3d at 1326 (noting claimed system covered long-known
 28   processes such as Morse code).
                                                                DEFENDANT’S MEMO IN SUPPORT OF
                                                               RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 16 -            CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 21 of 29 Page ID
                                 #:247



  1   the process of winnowing a field by asking more than one question—though not
  2   actually required by the independent claims—is clearly a long-standing human
  3   practice. The Court can rely on its common sense and experience for the basic
  4   premise that, for eons, humans have asked questions to determine whether others
  5   have like interests and matched those who gave corresponding answers. “Do we
  6   like the same things” is a basic principle of matchmaking. See, e.g., Jedi Techs, No.
  7   1:16-1055-GMS, at *13 (noting on motion to dismiss that “[t]he concept of
  8   matchmaking is certainly not novel and has been performed by humans for a very
  9   long time.”). The specifications of both Patents also note it was well-known for
 10   websites to query users and match them with other users based on their answers.
 11   [See Doc. 28, Ex. 1 at 1:30-34; Ex. 2 at 1:41-45]
 12         The Patents’ “focus” on an abstract idea, rather than any technological
 13   innovation, is made even clearer by looking at the dependent claims. The dependent
 14   claims in both Patents cover processes such as asking multiple polling questions,
 15   determining a match by a percentage of corresponding answers, matching by
 16   gender, and displaying an answer to another user. These are not technological
 17   advances but merely different variations on the matchmaking idea. To the extent the
 18   Court feels it necessary to look beyond the claims, the Patents’ specifications both
 19   describe the claimed invention similarly, as a process of progressively asking
 20   questions and matching the user to other users who gave the same answers. [See
 21   Doc. 28, Ex. 1 at 1:35-38; Ex. 2 at 6:3-13] The Asserted Claims in essence recite
 22   steps of collecting user information, comparing it, and displaying the results. That
 23   is exactly the sort of information processing and presentation the Federal Circuit
 24   has repeatedly held is not patentable. See Elec. Power, 830 F.3d at 1353-54; Voter
 25   Verified, 887 F.3d at 1385-86. Trinity’s Asserted Claims are wholly directed to
 26   process of matching people who gave corresponding answers to a question, which
 27   can be “performed entirely in the human mind . . . .” Voter Verified, 887 F.3d at
 28   1385; Jedi Techs, No. 1:16-1055-GMS, at *14-15 (“The asserted [matchmaking]
                                                              DEFENDANT’S MEMO IN SUPPORT OF
                                                             RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 17 -          CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 22 of 29 Page ID
                                 #:248



  1   claims merely recite activities performed by humans, and ‘generalized steps to be
  2   performed on a computer using conventional computer activity.’”).
  3         Computerizing that abstract matchmaking concept does not create
  4   patentability, as the Asserted Claims contain no “specific asserted improvement in
  5   computer capabilities . . . .” Enfish, 822 F.3d at 1335-36; Jedi Techs, No. 1:16-
  6   1055-GMS, at *14-15 (rejecting patentee’s arguments on similar matchmaking
  7   patent); Aatrix, 890 F.3d at 1359 (stating “in accordance with Alice, we have
  8   repeatedly recognized the absence of a genuine dispute as to eligibility for the many
  9   claims that have been defended as involving an inventive concept based merely on
 10   the idea of using existing computers or the Internet to carry out conventional
 11   processes, with no alteration of computer functionality,” and listing cases). Here,
 12   the Patents’ claims do not recite a specific improvement to the functioning of a
 13   computer; rather, “the focus of the claims is not on such an improvement in
 14   computers as tools, but on certain independently abstract ideas that use computers
 15   as tools.” Software Rights, No. 12-cv-03970-HSG, at *12. Moreover, to the extent
 16   additional technical details exist in the specifications of the Patents, those cannot be
 17   imported into the claims, which cover nothing but the broad abstract idea.
 18   ChargePoint, 920 F.3d at 769. Even with regard to the dependent claims in the ’321
 19   Patent that recite using two servers or in the ’685 Patent that recite using remote
 20   processing devices, the Federal Circuit has “consistently held . . . that claims are not
 21   saved from abstraction merely because they recite components more specific than a
 22   generic computer.” BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1286-87
 23   (Fed. Cir. 2018) (listing cases). Thus, recitation of a structure slightly more specific
 24   than a generic computer “does not save the asserted claims at step one.” Id.; see
 25   also FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1095 (Fed. Cir. 2016)
 26   (“although the claims limit the abstract idea to a particular environment—a mobile
 27   telephone system—that does not make the claims any less abstract for the step 1
 28   analysis.”).
                                                                DEFENDANT’S MEMO IN SUPPORT OF
                                                               RULE 12(B)(6) MOTION TO DISMISS FAC
                                                 - 18 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 23 of 29 Page ID
                                 #:249



  1         The Supreme Court’s stated the concern with § 101 is “preemption,” i.e., that
  2   the patent gains a monopoly on an idea. Id.; Alice, 573 U.S. at 216. Here, Trinity
  3   has alleged Covalent’s Kippo app infringes both Patents not by implementing a
  4   specific technological innovation but merely by asking a user if they would like to
  5   see dating profiles of a particular gender and then displaying the profiles of other
  6   users matching the selection. [Doc. 28 ¶¶ 46-53, 59-67] Trinity’s claims are based
  7   on alleged performance of the claimed steps on any hardware using any software. If
  8   the Patents’ claims were valid, Trinity could sue every social network and online
  9   dating company in existence. That is further proof that Trinity seeks to monopolize
 10   the abstract idea of matching people who gave corresponding answers to a question
 11   through implementation on generic, known computer components.2
 12         C.     Alice Step 2: Claims Reciting Generic Computer Components Do
                   Not Contain an Inventive Concept
 13

 14         The second step of the Alice test requires considering “the elements of each
 15   claim individually and ‘as an ordered combination’ to determine whether the
 16   additional elements ‘transform the nature of the claim’ into a patent-eligible
 17   application.” Bozeman, 955 F.3d at 980 (quoting Alice, 573 U.S. at 318). “To save a
 18   patent at step two, an inventive concept must be evident in the claims.”
 19   RecogniCorp, 855 F.3d at 1327 (emphasis added) (citing Alice’s holding that “[a]t
 20   Mayo step two, we must examine the elements of the claim to determine whether it
 21   contains an ‘inventive concept”). Specifically, “[w]here a claim is directed to an
 22   abstract idea, the claim must include additional features to ensure that the claim is
 23   more than a drafting effort designed to monopolize the abstract idea.” ChargePoint,
 24   2
        While the method claimed by the Patents does not seem especially innovative, that
 25   would not change the analysis. Even if the invention claims an improvement on an
      abstract idea, it remains unpatentable under § 101, as it is still directed to an
 26   abstract idea. SAP Am, 898 F.3d at 1168. That remains true though the claims may
      be “groundbreaking, innovative, or even brilliant,” and even if they are “novel and
 27   nonobvious in light of prior art, passing muster under 35 U.S.C. §§ 102 and 103.”
      Id. at 1163; see also Synopsys, 839 F.3d at 1151 (“[A] claim for a new abstract idea
 28   is still an abstract idea.”).
                                                               DEFENDANT’S MEMO IN SUPPORT OF
                                                              RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 19 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 24 of 29 Page ID
                                 #:250



  1   920 F.3d at 773 (internal punctuation omitted; emphasis added). “These additional
  2   features cannot simply be well-understood, routine, conventional activities
  3   previously known to the industry.” Id. “Instead, the inventive concept must be
  4   sufficient to ensure that the patent in practice amounts to significantly more than a
  5   patent on the abstract idea.” Id.
  6         Indeed, at step two the Court must “scrutinize the claim elements more
  7   microscopically” and reject as ineligible for patenting claims that fail to recite an
  8   inventive concept. Elec. Power, 830 F.3d at 1354. References to concepts in the
  9   patent specification “do not confer patent eligibility because they are described only
 10   in the patent specification; and an Alice analysis concerns itself with claim
 11   language, not unclaimed features.” PLC v. Iac/Interactivecorp, Match Grp., Inc.,
 12   No. 18-366-WCB, at *28 (D. Del. Feb. 4, 2019) (citing cases); see also Windy City
 13   Innovations, LLC v. Facebook, Inc., 411 F. Supp. 3d 886, 902 (N.D. Cal. 2019)
 14   (finding arguments for inventive concept at step two failed because, “though Windy
 15   City cites to portions of the specification in search of an inventive concept, Claim
 16   19 itself does not describe . . . nor does it explain [those concepts]”).
 17         Because step two focuses on what is claimed, “if the evidence that aspects of
 18   the invention [were] not well-understood, routine, and conventional does not
 19   pertain to the invention as claimed, it will not create a factual dispute as to these
 20   claims.” Aatrix, 890 F.3d at 1357 (emphasis added); Windy City, 411 F. Supp. 3d at
 21   902 (listing cases). In addition, “[t]he description of already-available computers
 22   that are not themselves plausibly asserted to be an advance amounts to a recitation
 23   of what is well-understood, routine, conventional.” Whitserve, 2019-2240, at *9
 24   (quoting SAP Am., 898 F.3d at 1170). The Federal Circuit therefore has held that
 25   “[a] statement that a feature ‘improves the functioning and operations of the
 26   computer’ is, by itself, conclusory” and does not “prevent resolving the eligibility
 27   question as a matter of law.’” Simio, 2020-1171, at *19-20 (quoting Aatrix, 882
 28   F.3d at 1125); see also Ubisoft Ent., 2019-2399, at *7; Yanbin Yu, No. 3:18-cv-
                                                                DEFENDANT’S MEMO IN SUPPORT OF
                                                               RULE 12(B)(6) MOTION TO DISMISS FAC
                                                 - 20 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 25 of 29 Page ID
                                 #:251



  1   06181-JD, at *4 (“A patentee cannot avoid dismissal of ineligible claims purely on
  2   the basis of conclusory or generalized factual allegations . . . about inventiveness”).
  3   And the Federal Circuit has “repeatedly held that such invocations of computers
  4   and networks that are not even arguably inventive are insufficient to pass the test of
  5   an inventive concept in the application of an abstract idea.” Elec. Power, 830 F.3d
  6   at 1355 (citing cases); SAP Am., 898 F.3d at 1169-70 (same); Mortg. Grader, 811
  7   F.3d at 1324-25 (generic computer components such as an “interface,” “network,”
  8   and “database,” fail to satisfy the inventive concept requirement).
  9         Here, the Asserted Claims of both Trinity Patents do not recite any inventive
 10   concept. They merely describe the abstract process of matching users who gave
 11   corresponding answers to a question through the use of off-the-shelf computer
 12   technology. Like the computerized matchmaking patent rejected in Jedi, “the
 13   generic computer system contemplated by the patent could be replaced with a
 14   human matchmaker who compares two individuals based on submitted or publicly
 15   available information, and then sends both chatters a message which prompts their
 16   meeting.” Jedi Techs., No. 1:16-1055-GMS, at *15-16. “While the use of a machine
 17   might improve the efficiency of the process, this improvement is not the
 18   ‘significantly more’ contemplated by Alice that ‘ensure[s] that the patent in
 19   practice’ truly adds to the invention.” Id. “The use of a generic computer to notify a
 20   chatter of matches recites what human matchmakers do in their profession—notify
 21   a customer that they have found a compatible individual.” Id. at *16. There is
 22   nothing in the claim language of either Patent that expressly ties the claims to
 23   specific, inventive technology. See Digitech Image Techs., LLC v. Elecs. for
 24   Imaging, Inc., 758 F.3d 1344, 1351 (Fed. Cir. 2014) (finding no inventive concept
 25   where “[c]ontrary to [the patentee’s] argument, nothing in the claim language
 26   expressly ties the method to an image processor” which rendered the patented
 27   method “so abstract and sweeping as to cover any and all uses of a device profile.”).
 28         OIP Technologies, 788 F.3d 1359, is also analogous. There, the Federal
                                                               DEFENDANT’S MEMO IN SUPPORT OF
                                                              RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 21 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 26 of 29 Page ID
                                 #:252



  1   Circuit affirmed dismissal under § 101 for a patent concerned with the “abstract
  2   idea of offer-based price optimization.” Id. at 1364. That patent recited a
  3   computerized system for communicating a price offer to a user, receiving the user’s
  4   preferences, gathering pricing statistics, determining an estimated outcome of a
  5   second price offer, selecting a price, and communicating a second price offer to the
  6   user. Id. at 1361. The Federal Circuit found the claims lacked any inventive concept
  7   and “merely recited well-understood, routine conventional activities, either by
  8   requiring conventional computer activities or routine data-gathering steps.” Id. at
  9   1363 (internal punctuation omitted). “Moreover, the claims are exceptionally broad
 10   and the computer implementation limitations do little to limit their scope.” Id.
 11         The same is true here. The Asserted Claims recite nothing more than generic
 12   computer technology and structures. And the specifications in both Patents make
 13   clear the claimed inventions can be implemented on generic hardware and software
 14   using any well-known programming method. [See Doc. 28, Ex. 1 at 9:56-59, 11:21-
 15   59; Ex. 2 at 5:41-63, 9:37-38, 10:16-33, 11:20-52, 12:33-34, 13:32-55] The
 16   Asserted Claims therefore do not even arguably recite an inventive concept
 17   necessary to survive a motion to dismiss. See Aatrix, 890 F.3d at 1357; see also
 18   SAP Am., 898 F.3d at 1170 (“Some of the claims require various databases and
 19   processors, which are in the physical realm of things. But it is clear, from the claims
 20   themselves and the specification, that these limitations require no improved
 21   computer resources InvestPic claims to have invented, just already available
 22   computers, with their already available basic functions, to use as tools in executing
 23   the claimed process.”); Elec. Power, 830 F.3d at 1355-56 (holding claims do “not
 24   include any requirement for performing the claimed functions of gathering,
 25   analyzing, and displaying in real time by use of anything but entirely conventional,
 26   generic technology. The claims therefore do not state an arguably inventive concept
 27   in the realm of application of the information-based abstract ideas.”). Rather,
 28   Trinity’s Patents both claim the abstract idea of matching people who gave
                                                               DEFENDANT’S MEMO IN SUPPORT OF
                                                              RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 22 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 27 of 29 Page ID
                                 #:253



  1   corresponding answers to a question, which is not permitted under Supreme Court
  2   and Federal Circuit law.
  3         Finally, to the extent Trinity attempts to argue that the swiping limitation in
  4   the ’685 Patent’s Claim 2 saves it, that is not so. “Simply appending conventional
  5   steps, specified at a high level of generality, was not ‘enough’ to supply an
  6   inventive concept.” Alice, 573 U.S. at 216; OIP Techs., 788 F.3d at 1364 (“the
  7   addition of steps to test prices and collect data based on customer reactions does not
  8   add any meaningful limitations to the abstract idea”). The ’685 Patent specification
  9   contains no references whatsoever to swiping, and neither the specification nor the
 10   claims describe how the swiping limitation should be implemented or performed.
 11   The ’685 Patent does not purport to have invented swiping or to have improved the
 12   process. Thus, because the “swiping” limitation is a conventional step stated at a
 13   high level of generality appended to the abstract idea, and it was a known
 14   technological process, that limitation cannot be found to state an “inventive
 15   concept” under step two. See id.; see also Ringcentral, Inc. v. Dialpad, Inc., 372 F.
 16   Supp. 3d 988, 1000 (N.D. Cal. 2019) (“RingCentral does not contend that it
 17   invented the E-911 system or the methods of registering for that system, and it
 18   points to no language in the claim or specification indicating that its claimed
 19   method in any way ‘improved [this] existing technological process.’”). Therefore,
 20   the ’685 Patent, like the ’321 Patent, broadly claims an abstract idea and should be
 21   found ineligible for patenting under § 101.
 22         D.     Other Asserted Claims Need Not Be Analyzed Separately But Are
                   Invalid for the Same Reasons
 23

 24         While the above analysis focuses on Claim 1 of the ’321 Patent and Claim 2
 25   of the ’685 Patent, the other Asserted Claims fall together for the same reasons. It is
 26   well established that “a district court need not expressly address each asserted claim
 27   where the court concludes particular claims are representative because all the
 28   claims are substantially similar and linked to the same abstract idea.” Papst
                                                               DEFENDANT’S MEMO IN SUPPORT OF
                                                              RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 23 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 28 of 29 Page ID
                                 #:254



  1   Licensing, 193 F. Supp. 3d at 1085 (quoting Content Extraction, 776 F.3d at 1348
  2   (rejecting plaintiff’s argument that the court had to individually address every one
  3   of its claims)); see also Mortg. Grader, 811 F.3d at 1324 n.6 (court did not err by
  4   discussing only one claim where claims did not “differ in any manner that is
  5   material to the patent-eligibility inquiry”); Voter Verified, 887 F.3d at 1385 (“While
  6   these claims encompass both methods and systems, we find there to be no
  7   distinction between them for § 101 purposes, as they simply recite the same
  8   concept.”).
  9         The invalidity analysis for the Patents applies equally to the other Asserted
 10   Claims, which merely recite the same process and other variations of ways to match
 11   users by their answers to questions. As the Northern District of California court
 12   held recently in a similar situation, the dependent claims “add additional details and
 13   specificity to the [independent claims] [but] the details they add are also abstract
 14   concepts related to the manipulation and processing of information.” Synopsys, No.
 15   20-cv-04151-WHO, at *5. Dependent claims “which merely add abstract steps to
 16   the abstract concepts at the core of [the independent claims], are also directed to
 17   abstract concepts.” Id.
 18         Every Asserted Claim is directed towards matching users who gave
 19   corresponding answers to a question, and no claim requires any specific, non-
 20   generic hardware or software to perform these steps or any other part of the claimed
 21   abstract mental process. The dependent claims simply add additional abstract
 22   concepts—such as asking multiple questions, determining a match by a percentage
 23   of corresponding answers, performing the abstract process on multiple generic
 24   computer servers, matching users by gender, or performing the process using
 25   known distributed computing techniques. Like the claims in Voter Verified, the
 26   claims here “only recite different variations of the same abstract idea being
 27   performed with other generic computer components.” 887 F.3d at 1386; see also
 28   Alice, 573 U.S. at 311 (explaining that “the system claims are no different from the
                                                               DEFENDANT’S MEMO IN SUPPORT OF
                                                              RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 24 -           CASE NO. 2:21-CV-01360-JWH-MRW
Case 2:21-cv-01360-JWH-MRW Document 30-1 Filed 05/12/21 Page 29 of 29 Page ID
                                 #:255



  1   method claims in substance. The method claims recite the abstract idea
  2   implemented on a generic computer; the system claims recite a handful of generic
  3   computer components configured to implement the same idea.”). Therefore, the
  4   Court should find that, like the specifically discussed claims, all Asserted Claims of
  5   the ’321 Patent are invalid for claiming the same concept of matching people who
  6   gave corresponding answers to a question. See Voter Verified, 887 F.3d at 1385;
  7   Synopsys, No. 20-cv-04151-WHO, at *5.
  8                                        Conclusion
  9         For the reasons stated above, Covalent respectfully requests that the Court
 10   dismiss Trinity’s Complaint in its entirety with prejudice. The Asserted Claims of
 11   the ’321 and ’685 Patents are invalid for claiming an unpatentable abstract idea,
 12   and that defect cannot be remedied by amendment, particularly where Trinity has
 13   already amended its complaint once.
 14
       DATED: May 12, 2021                        Respectfully submitted,
 15

 16                                               THE MCARTHUR LAW FIRM, PC
 17                                               By: /s/ Stephen McArthur
                                                      Stephen McArthur
 18                                                   Thomas Dietrich
 19                                                      Attorneys for Defendant
                                                         Covalent, Inc.
 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                                 DEFENDANT’S MEMO IN SUPPORT OF
                                                                RULE 12(B)(6) MOTION TO DISMISS FAC
                                                - 25 -             CASE NO. 2:21-CV-01360-JWH-MRW
